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EXHIBIT A

I have reviewed the following medical records of Rigoberto Vinas, including:

2016-12-14 Progress Note by Kenneth Hershman

2016 — 12-05 CT abdomen and pelvis

2016 — 12-14 ECG

2016-12-27 — Chest evaluation

2016 6-12-12- Progress note by Dr. Hershman

South Florida Diagnostic Imaging Report

2017 — 04-05 Denial Letter

2012 -07-30 to 2015-11-17 Dr. Hershman office visit notes
2016-04-26 to 2016-12-30 Progress Notes — Hershman Medical
LabCorp Records

Quest Diagnostics Report

2017-01-05 Progress Note by Lloyd Hershman

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Based on my review of these documents, and the number of times diabetes and related complications
appeared in Mr. Vinas’s records, it would be reasonable to assume that Mr. Vinas was being followed
for diabetes and secondary complications. A reasonably prudent physician would discuss all conditions
with that patient. It is standard protocol for a physician to discuss all lab results and exam findings.
This is especially important in Mr. Vinas’s case because he had an HgbA 1c level of 6.6 in 2010, which
is diagnostic of diabetes. Additionally, the records contain evidence of diminished sensation on
neurologic examination which supports diabetic neuropathy, and proteinuria which supports diabetic
nephropathy. Once a patient has diabetes, they are always a “diabetic,” as the condition remains
dormant in his system. The records show that Dr. Hershman was actively monitoring Mr. Vinas for
diabetes and secondary complications. Anyone reviewing these records would reasonably determine
that Dr. Hershman adhered to standard protocol and discussed diabetes and secondary complications
with Mr. Vinas, including nephropathy and neuropathy. Based on these records, Mr. Vinas must have
been aware of these conditions.

My hourly rate for services performed is $500 per hour. I have not testified in any matters in the last 4
years.

Marc S. Frager MD

Ad p |
AW (GES M)

\ [25/2020
